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                   UNITED STATESDISTRICTCOURT
                   NORTHERN DISTRICTOFGEORGIA
                        ATLANTA DIVISION

1-800-411-I.P. HOLDINGS, LLC, a         )
Flori
    da l  imited liabil
                      ity company,      )
REARDEN IP, INC., a Flori       da      )
corporat
       ion, and THE LAW OFFICES         )
OF KANNER & PINTALUGA, P.A., a          )   CIVILACTION NO.
Flori
    dacorporat ion,                     )   ________________
                                        )
           Plai
              ntiffs,                   )   TEM PO R AR Y AND
                                        )   PER M ANENT
v.                                      )   INJUNCTIVE R ELIEF
                                        )   SO UGH T
THEEICHHOLZLAW FIRM , P.C.              )
                                        )   JUR Y TR IALDEM ANDED
           Defendant.                   )

                               CO M PLAINT

     Plai
        ntiffs, 1-800-411-I.P. Hol
                                 dings, LLC (“I.P. Holdings”), ReardenIP, Inc.

(“Rearden”), andTheLaw OfficesofKanner& PintalugaP.A. (“K& P”), byand

through counsel, fi
                  lethi
                      sComplaintagai
                                   nstDefendantTheEichhol
                                                        zLaw Firm,

P.C. (“Eichholz”), showi
                       ngtheCourtasfoll
                                      ows:

                    I.    NATUR E O FTH E ACTIO N

     1.    Thi
             sis an act
                      ion fortrademark infri
                                           ngement, fal
                                                      se desi
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                                                               ion of

ori
  gin, and dil
             uti
               on underSect
                          ions32 and 43 oft
                                          heLanham Act, 15 U.S.C. §§

1114 and 1125, decept
                    ivetradepracti
                                 cesundert
                                         heGeorgiaUniform Decepti
                                                                ve

TradePracticesAct(“UDPTA”), O.C.G.A. §10-1-370 etseq., andFalseorUnfair

Stat
   ementsi
         nAdvert
               isi
                 ngunderO.C.G.A. §10-1-421.
         Case 1:17-cv-04382-MHC Document 1 Filed 11/02/17 Page 2 of 26




             II.   TH E PAR TIES, JUR ISDICTIO N AND VENUE

     2.      Plai
                ntiff I.P. Holdingsi
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  nci
    palplaceofbusinessi
                      nBrowardCounty, Florida. I.P. Hol
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  he federaltrademark registrat
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certai
     ncommonlaw trademarkri
                          ght
                            sdefinedbel
                                      ow, amongothers, which make

upthe“411-PAIN M arks”t
                      hatgiveri
                              set
                                othisComplai
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     3.      Plai
                ntiffRearden isaFl
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businessi
        nBrowardCounty, Flori
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trademark ri
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terms.

     4.      Plai
                ntiffK& P i
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                                        onalAssociat
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placeofbusi
          nessi
              n BocaRaton, Fl
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PAIN M arksint
             heGeorgiamarketandisconducti
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      Case 1:17-cv-04382-MHC Document 1 Filed 11/02/17 Page 3 of 26



     5.   DefendantEichholzisaGeorgi
                                   alaw firm that, on informati
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bel
  ief, conductsbusi
                  nessthroughoutt
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                                   ateofGeorgia. Accordi
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     e, itmaintai
                nsofficesi
                         nAtl
                            anta, M adi
                                      son, andSavannah.

     6.   Thi
            sCourthassubj
                        ectmatterj
                                 uri
                                   sdicti
                                        onunder15 U.S.C. §1121(a)

and28U.S.C. §§1331 and1338(b). Thi
                                 sCourthassupplementalj
                                                      urisdi
                                                           ctionover

thest
    atelaw causesofact
                     ionunder28U.S.C. §§1338(b)and1367(a).

     7.   Venue is properunder28 U.S.C. § 1391(b)(1) because Ei
                                                              chholz

residesi
       n thisdistri
                  ctpursuantt
                            o §1391(c)(2) and si
                                               gnificantdamagesaccrued

wit
  hint
     hedi
        strictarisingoutofDefendant’si
                                     nfringi
                                           ngandwrongfulacti
                                                           vit
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     8.   The Courthaspersonalj
                              urisdict
                                     ion overEichhol
                                                   z as, among other

things, Eichholz i
                 s a Georgia corporat
                                    ion wi
                                         th i
                                            ts pri
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                                                   palplace ofbusiness

located wi
         thin the Stat
                     e.    Eichholz, on informati
                                                on and bel
                                                         ief, conduct
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si
 gnificantport
             ionofit
                   slegalpracticet
                                 hroughoutt
                                          heStateofGeorgia.

                    III.   STATEM ENT O FFACTS

                I.P. H old ingsand i
                                   tsFamousTrad e marks

     9.   I.P. Holdi
                   ngs i
                       s the owner of U.S. Trademark Regi
                                                        strat
                                                            ion No.

2,621,497datedSept
                 ember17, 2002 fort
                                  hei
                                    ncontest
                                           ablet
                                               rademark411PAIN for

advert
     isi
       ng, medicali
                  nformation i
                             nthe fiel
                                     d ofpain, and generalhealt
                                                              h care

services. Theregist
                  rat
                    ion isatt
                            ached heret
                                      o asExhi
                                             bitA. I.P. Hol
                                                          dings, i
                                                                 tself

and/orbyandt
           hroughi
                 tspredecessorsandl
                                  icensees, hasusedthe411PAIN mark


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       Case 1:17-cv-04382-MHC Document 1 Filed 11/02/17 Page 4 of 26



exclusivelyini
             nterst
                  atecommerceint
                               heU.S. sinceatleastasearlyas1996 for,

interali
       a, advert
               isingandprovi
                           dingmedicali
                                      nformationi
                                                nthefi
                                                     eldofpainand

general healt
            h care servi
                       ces.    The federally-registered trademark is deemed

incont
     estableunder15 U.S.C. §1065. Inaddi
                                       tion, si
                                              nceatleastasearlyas1998,

I.P. Holdi
         ngsal
             sohasusedthe411PAIN markexclusivelyini
                                                  nterstatecommerce

in t
   he U.S. foradvert
                   ising legalservices and si
                                            nce 2009 foradvert
                                                             ising legal

servicesintheStateofGeorgia.

     10.   I.P. HoldingsownsU.S. TrademarkRegi
                                             strat
                                                 ionNo. 3,885,749dated

December7, 2010 fort
                   hei
                     ncontest
                            abletrademark 1-800-411-PAIN for, among

ot
 hert
    hings, adverti
                 sing att
                        orney services, referralst
                                                 o personali
                                                           njury at
                                                                  torneys,

providi
      ngi
        nsurancei
                nformationfort
                             heinj
                                 ured, andprovidi
                                                ngmedicalheal
                                                            thcare

servicesandinformati
                   on. Theregistrati
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                                                   o asExhi
                                                          bitB. The

registered trademark is deemed incontestable under 15 U.S.C. § 1065.   I.P.

Hol
  dings, i
         tselfand/orbyandt
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                                spredecessorsandl
                                                icensee, hasusedt
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1-800-411-PAIN markexcl
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                              nterstatecommercesinceatl
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1996 fornumerous healt
                     hcare-related servi
                                       ces i
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                                                          ia:a) placing

advert
     isements fort
                 hose i
                      nthe field ofmedicalpersonali
                                                  njury;b) provi
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  orneyreferral
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                 hosewhoareinj
                             uredinvehicul
                                         ar, sl
                                              ipandfal
                                                     l, work-related

and recreati
           onalacci
                  dent
                     s;andc) providi
                                   ngmedical, heal
                                                 thcareandt
                                                          herapeutic

services, i
          ncl
            udi
              ng physicalt
                         herapy and rehabi
                                         litat
                                             ion, pai
                                                    n management, and


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       Case 1:17-cv-04382-MHC Document 1 Filed 11/02/17 Page 5 of 26



treatmentforort
              hopedici
                     njuries. Inaddi
                                   tion, wit
                                           hint
                                              heStatesofGeorgia, Fl
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Mi
 nnesota, Kent
             ucky, M assachuset
                              ts, Tennessee, New M exico, M ichigan,

Alabama, Sout
            h Carol
                  ina, Loui
                          siana, andM i
                                      ssouri, amongot
                                                    hers, I.P. Holdi
                                                                   ngs,

it
 selfand/orbyandt
                hroughispredecessorsandl
                                       icensee, hasusedthe1-800-411-

PAIN markt
         oeducat
               eaccidentvict
                           imsregardi
                                    ngtheirabi
                                             litytorecei
                                                       velegaland

medicalservicesand to advert
                           iseforand connectacci
                                               dentvi
                                                    ctimsto legaland

healt
    hcareservices.

     11.   I.P. HoldingsownsU.S. TrademarkRegi
                                             strat
                                                 ionNo. 4,112,934 dated

M arch13, 2012 fort
                  hetrademark“GET THE 411”foratt
                                               orneyreferralservices.

Theregi
      strat
          ioni
             satt
                achedheret
                         oasExhi
                               bitC. I.P. Hol
                                            dings, it
                                                    selfand/orbyand

through i
        ts predecessors and l
                            icensee, has used t
                                              he “GET THE 411” mark

exclusively in interst
                     ate commerce since atl
                                          eastasearly as2012 forat
                                                                 torney

referralservices. I.P. Holdi
                           ngsalsoownsU.S. TrademarkRegi
                                                       strat
                                                           ion2,750,243

dat
  edAugust12, 2003, al
                     soforthetrademark“GET THE 411”foradverti
                                                            singfor

pai
  n diminut
          ion. W it
                  hin the StatesofGeorgia, Flori
                                               da, M i
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                                                          a, Kentucky,

M assachusett
            s, Tennessee, New M exico, M ichigan, Al
                                                   abama, Sout
                                                             h Carol
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Louisiana, andM i
                ssouri, amongot
                              hers, I.P. Holdings, it
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ispredecessorsandl
                 icensee, hasusedt
                                 heGET THE 411 marktoeducateacci
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vict
   ims regardi
             ng t
                heir abi
                       lity to recei
                                   ve legaland medical services and to

advert
     iseforandconnectaccidentvictimstolegalandheal
                                                 thcareservi
                                                           ces.


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        Case 1:17-cv-04382-MHC Document 1 Filed 11/02/17 Page 6 of 26



      12.   I.P. HoldingsownsU.S. TrademarkRegi
                                              strat
                                                  ionNo. 3,548,378dated

December16, 2008fort
                   hetrademark“AFTER 911, CALL 411”formedicaland

relatedservices. Theregistrati
                             oni
                               sat
                                 tachedheretoasExhibitD. Thetrademarki
                                                                     s

deemedincontestabl
                 eunder15 U.S.C. §1065. I.P. Holdings, i
                                                       tselfand/orbyand

through i
        tspredecessorsand l
                          icensee, hasused the mark “AFTER 911, CALL

411”excl
       usi
         velyini
               nterstatecommercesinceatl
                                       eastasearlyas2008formedical

services.   W ithi
                 n the Stat
                          es of Georgi
                                     a, Flori
                                            da, M i
                                                  nnesota, Kent
                                                              ucky,

M assachusett
            s, Tennessee, New M exico, M ichigan, Al
                                                   abama, Sout
                                                             h Carol
                                                                   ina,

Louisiana, andM i
                ssouri, amongot
                              hers, I.P. Holdings, it
                                                    selfand/orbyandt
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ispredecessorsandli
                  censee, hasusedthemarkAFTER 911, CALL411 t
                                                           oeducat
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acci
   dentvictimsregardi
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                                      velegalandmedi
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advert
     iseforandconnectaccidentvictimstolegalandheal
                                                 thcareservi
                                                           ces.

      13.   Sinceatleastasearl
                             yas, respect
                                        ively, 1998and1999, I.P. Holdings,

it
 selfand/orby and through it
                           s predecessors and l
                                              icensees, has owned and/or

exclusively used i
                 n interst
                         ate commerce the domain names 411PAIN.com and

1800411PAIN.com. Likewise, si
                            nceatleastasearlyas2012, I.P. Holdi
                                                              ngs, i
                                                                   tself

and by and through itspredecessors and/orl
                                         icensees, hasowned and used i
                                                                     n

interst
      ate commerce the domain name 411PAINATLANTA.com. The website

locatedatt
         he411PAINATLANTA.com domainisti
                                       tle“411 PAIN ATLANTA 1-




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       Case 1:17-cv-04382-MHC Document 1 Filed 11/02/17 Page 7 of 26



800-411-PAIN.” Thosedomain namesi
                                ncorporateand/orcreatean associat
                                                                ion

wit
  hthe411-PAIN M arks.

     14.   Theforgoing federal
                             ly-regi
                                   stered and common law trademark right
                                                                       s

arereferredtoherei
                 nast
                    he“411-PAIN M arks.”

     15.   The 411-PAIN M arksare st
                                   rong, inherent
                                                ly disti
                                                       ncti
                                                          ve trademarks

becauset
       heyrequi
              reaneffortofimaginat
                                 ionbyconsumersinorderfort
                                                         hemarks

torelatet
        olegalservices, legalreferralservices, medicalreferralservi
                                                                  ces, healt
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care services, medi
                  cal i
                      nformation services, and general accident recovery

informationservices, amongothers.

     16.   Since it
                  sfirstuse, I.P. Hol
                                    dings, by and through i
                                                          tspredecessors,

licensees, and affi
                  liates, has spentt
                                   ens ofmilli
                                             ons ofdol
                                                     lars advert
                                                               ising and

promot
     ing t
         he411-PAIN M arks, Domainsand TollFreeNumberon, interali
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tel
  evisi
      on, radioandbi
                   llboardsthroughoutFlori
                                         da, Georgi
                                                  aandtheUni
                                                           tedStates.

The411-PAIN M arksappearubi
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                            tousl
                                y on hundredsofbil
                                                 lboardst
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Flori
    da, Georgia, and t
                     heUnit
                          ed Statesand t
                                       he411-PAIN M arks, Domainsand

Tol
  l-FreeNumberhavebecomeextremelywell-knownandfamous.

     17.   Asaresultoft
                      hesupervi
                              sionandcontrolexerci
                                                 sedbyI.P. Holdings

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        ureand qual
                  ity oftheservicesoffered i
                                           n connecti
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PAIN M arks, and t
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      Case 1:17-cv-04382-MHC Document 1 Filed 11/02/17 Page 8 of 26



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     llthatI.P. Hol
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    sti
      ncti
         ve411-PAIN M arkshaveacquired signifi
                                             cantsecondary meani
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          herelevantpubl
                       icandhavebecomefamous. In2010, afederalj
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   ng i
      nthe Uni
             ted States Di
                         stri
                            ctCourtfort
                                      he Sout
                                            hern DistrictofFl
                                                            orida

declaredt
        he411PAIN markandassoci
                              atedmarks“famous”. See, e.g., Orderof

Prel
   iminaryInj
            unct
               ioni
                  nRobertLewi
                            netal. v. Raf
                                        aelFossetal., CaseNo. 09-

82448-CIV-RYSKAM P/VITUNAC (S.D. Fla. M arch 23, 2010). Subsequent
                                                                 ly,

thesecondarymeaningbehi
                      ndt
                        he411PAIN markwasdirect
                                              lyreferencedint
                                                            he

hi
 t2011 song “Shake Señora” by the Grammy Award-winni
                                                   ng recordi
                                                            ng arti
                                                                  st

“Pitbul
      l”, wi
           tht
             hesong chart
                        ing atnumber69 on thebi
                                              llboard top 100. In t
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song, theart
           istcrudel
                   ystat
                       esthatsomeonehei
                                      njured“called411Pain.”

     18.   Becauseofext
                      ensiveadvert
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                                   ng, t
                                       he411-PAIN M arks, Domainsand

Tol
  l-FreeNumberhavebecomeassociat
                               ed excl
                                     usively wit
                                               h “411-PAIN”ast
                                                             he

sourceofmedicalandlegalservices, i
                                 ncl
                                   udi
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Stat
   eofGeorgiaandthesubst
                       anti
                          algoodwil
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     19.   I.P. Holdingshassuccessful
                                    lycreatedaconsci
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publicmindbetweenit
                  s411-PAIN M arksandl
                                     egalservi
                                             cesi
                                                ntheGeorgiamarket

provided by K& P and t
                     he publ
                           ic actual
                                   ly identi
                                           fiest
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thoseservicesi
             ntheGeorgiamarket.




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      Case 1:17-cv-04382-MHC Document 1 Filed 11/02/17 Page 9 of 26



     20.   In l
              ightof their fame and di
                                     stinct
                                          iveness, the 411-PAIN M arks,

Domains and Toll-Free Numberhave acquired substant
                                                 ial, ifnoti
                                                           ncalculable,

val
  uetoPlaint
           iffs.

     21.   Unfort
                unately, thefameofthe411-PAIN M arkshasalso created a

marketforcopycatsandtrademarki
                             nfri
                                ngersl
                                     ikeDefendantEichholz, whichhas

att
  emptedtounl
            awfullyprofi
                       tfrom thegoodwil
                                      landnamerecognit
                                                     ionassociated

wit
  hthe411-PAIN M arks.

                      Eichhol
                            z’sInfringingActi
                                            vity

     22.   On oraboutJune 26, 2017, K& P learned thatEichholz ti
                                                               tled it
                                                                     s

websit
     e, www.caraccidenthel
                         ponli
                             ne.com wit
                                      h the mark “411 PAIN Atlanta –

Choose GreatLegalSupport.” (Emphasi
                                  s supplied).      The mark appeared i
                                                                      n

connect
      ion wit
            h Ei
               chholz’s websit
                             e t
                               hrough a google search as fol
                                                           lows:




     23.   Addit
               ional
                   ly, Eichholz, on i
                                    nformation and bel
                                                     ief, purchased

keywordsinGoogleAdW ordssot
                          hatEichholz’swebsi
                                           tebeari
                                                 ngthemark“411

PAIN Atlanta”woul
                d appearwhen an i
                                ndi
                                  vidualsearched for“411 PAIN”and

variat
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1
      Googl
          eAdW ordsi saGoogleadvertisi
                                     ngserviceinwhichadverti sersbidon
certai
     nkeywordsorsearchtermsinorderfortheadverti
                                              sers’“clickable”adsto
appearinGoogle’ssearchresul
                          ts.
                                    9
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     24.   Consequent
                    ly, I.P. Hol
                               dingssentaceaseanddesistlettert
                                                             oEi
                                                               chholz

andi
   tsagent
         sonAugust2, 2017demandi
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                                     chholzceaseanddesistfrom it
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                         hepurchaseofi
                                     nfringing keywordsusing Googl
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AdW ordsandtheuseof“411 PAIN Atlanta”t
                                     opromoteit
                                              swebsi
                                                   te. Attachedas

ExhibitEi
        sacopyoftheceaseanddesistl
                                 ett
                                   er.

     25.   Eichholzappearst
                          o havechanged thenameofit
                                                  swebsi
                                                       teand may

haveceasedfrom usi
                 ngkeywordsrelatedt
                                  othe411-PAIN M arkst
                                                     odri
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it
 swebsi
      tewww.caracci
                  dent
                     helponl
                           ine.com. However, oninformationandbeli
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afterdoi
       ngso, andafteracknowledgi
                               ngrecei
                                     ptofI.P. Hol
                                                dings’August2, 2017

cease and desi
             stlet
                 ter, Eichhol
                            z re-commenced and i
                                               ntensified it
                                                           sinfringi
                                                                   ng

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            inj
              urylawsuit
                       attorneys.com/ as reflected i
                                                   nthe fol
                                                          lowing google

searchforpai
           n:




     The new Eichholz websit
                           e (t
                              he “Infringi
                                         ng W ebsi
                                                 te”) bearscertai
                                                                n 411-

PAIN M arks.     Specifically, the new websit
                                            eincorporates the I.P. Holdi
                                                                       ngs

trademarks“411PAIN” and “GET THE 411” (referred t
                                                o herei
                                                      n as“Infringing

Desi
   gnat
      ions”)inseveralplaces, incl
                                udi
                                  ngthefoll
                                          owi
                                            ngst
                                               atement
                                                     s:

                                    10
      Case 1:17-cv-04382-MHC Document 1 Filed 11/02/17 Page 11 of 26



     1) Ge tthe 411 onyour411 Painori
                                    njuries.

     2) Cal
          lust
             oGe tthe 411 onyourPainorInj
                                        uryLawyer.

See Exhi
       bitF forprint
                   outofscreenshot
                                 soft
                                    he Infri
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                                             ng W ebsi
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    ied).

     26.    TheInfringingW ebsitedoesnoti
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  orneyinvi
          olat
             ionofGeorgi
                       a’sadvert
                               isingrulesgoverningt
                                                  heGeorgi
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doescont
       ainthephonenumbersforEichholz:1-855-249-3258.2 M eanwhi
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websit
     esuggest
            sorimpliest
                      hatthepot
                              ent
                                ialcl
                                    ientiscal
                                            ling areferralservice

when, i
      nfact, i
             tiscontact
                      ingEi
                          chholz. Forexample, t
                                              hewebsit
                                                     estates:“W e’ll

connectyouwi
           thaqual
                 ifiedpersonali
                              njuryattorneytoday. Callust
                                                        oGetthe411

on yourPain orInj
                ury Lawyer.” Thatstatementisfal
                                              se, ei
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suggest
      ion, as t
              he contactinformation connect
                                          sthe potentialcli
                                                          entdirect
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  orneysatEichhol
                z. M oreover, byincl
                                   uding“Getthe411”nextt
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Pai
  n, Eichholz i
              sintent
                    ionally int
                              ending to create an associ
                                                       ati
                                                         on between it
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websit
     e, the411-PAIN M arks, andPlai
                                  ntiffs.

     27.    Eichholz’suseoftheInfringingDesi
                                           gnat
                                              ionst
                                                  omarketandpromote

it
 slegalservicesi
               ntheGeorgiamarketisl
                                  ikelyto causeconfusi
                                                     on, ort
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mistake, ortodecei
                 veconsumers, andt
                                 odil
                                    utet
                                       hedist
                                            inct
                                               ivenessoft
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                                                          nfringed-

upon411-PAIN M arks.

2
      Eichholz’sfai
                  lure to i
                          nclude basic i
                                       nformation aboutit
                                                        sfirm isitsown
ethicalviol
          ationunderGeorgia’sadvertisi
                                     nglawsgoverni nglawyeradvert
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                                    11
      Case 1:17-cv-04382-MHC Document 1 Filed 11/02/17 Page 12 of 26



     28.   Because of t
                      he cl
                          ose similarity, if a consumer saw Eichholz’s

InfringingDesi
             gnat
                ionsonit
                       sInfri
                            ngi
                              ngW ebsi
                                     te, i
                                         nagooglesearch, orel
                                                            sewhere,

theconsumerwoul
              dbel
                 ievet
                     hatt
                        heInfri
                              ngi
                                ngDesi
                                     gnat
                                        ionandInfri
                                                  ngi
                                                    ngW ebsi
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emanatesfrom thesamesourceas411-PAIN M arks.

     29.   Adding t
                  othe li
                        keli
                           hood ofconfusion, Eichholz appears t
                                                              o offer

identi
     calornearlyident
                    icalservicestothoseprovi
                                           dedbyK& P, asl
                                                        icenseeoft
                                                                 he

411-PAIN M arksint
                 heGeorgiamarket,andalsot
                                        oadvert
                                              ise, marketandpromote

theirservicesthrough the same channelsoftrade and i
                                                  nthe same geographic

market
     sasK& Pasl
              icenseeoft
                       he411-PAIN M arksi
                                        ntheGeorgiamarket.

     30.   Eichholz adopted, and is using, t
                                           he Infri
                                                  nging Desi
                                                           gnat
                                                              ion and

InfringingW ebsi
               teinbadfait
                         handwi
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                                            iberat
                                                 eintentt
                                                        oinfri
                                                             nge

afterreceivingaceaseanddesi
                          stlett
                               erfrom I.P. Holdi
                                               ngs.

     31.   The411-PAIN M arkshavebeeninl
                                       ongstandingusei
                                                     nGeorgiaand

elsewheresi
          nceatleastasearlyas2009, and, asstat
                                             edabovet
                                                    heyhave, formany

years, appeared ubi
                  quit
                     ously on bi
                               llboards and i
                                            n other advert
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throughoutGeorgiaandt
                    heUni
                        tedSt
                            ates, sucht
                                      hatEichholzunquest
                                                       ionablywas

awareof, and isat
                tempting t
                         o unfairly capi
                                       tali
                                          zefrom, thefame, goodwil
                                                                 land

reputat
      ion associat
                 ed wit
                      hthe infri
                               nged-upon 411-PAIN M arks i
                                                         nits legal

market
     s. On informati
                   on and beli
                             ef, Ei
                                  chholz broughtli
                                                 ve or publi
                                                           shed t
                                                                he




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InfringingW ebsi
               teafteracknowledgi
                                ngrecei
                                      ptofI.P. Hol
                                                 dingsceaseanddesi
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let
  ter.

         32.   Eichholz’sunlawfulinfri
                                     ngementand dil
                                                  ution oft
                                                          hei
                                                            nfri
                                                               nged-upon

411-PAIN M arks, whicharefamousmarks, hascaused, andwil
                                                      lcont
                                                          inuet
                                                              ocause,

substantialdamages, incl
                       udi
                         ngirreparableharm toI.P. Holdi
                                                      ngsandi
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                                                               censees’

reputat
      ionandgoodwil
                  lforwhi
                        chtherei
                               snoadequat
                                        eremedyatlaw.

         33.   Plai
                  ntiffshaveretainedundersi
                                          gnedcounselandhasagreedt
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  orneysareasonabl
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      torneys’feesfrom Eichhol
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                                                        ng15 U.S.C.

§1117(a)andGeorgi
                aLaw §10-1-373.

         34.   Allcondi
                      tionsprecedentt
                                    othebringingofthisacti
                                                         onhaveei
                                                                therbeen

sat
  isfi
     edorhavebeenwaivedbyDefendants.

                                     CO UNT I
                        Fe d e ralTrad e markInfringe me nt
                   (15 U.S.C. §§1114 –1117;Lanham Act§32)

         35.   Plai
                  ntiffsreal
                           legeparagraphs1-34 ast
                                                houghsetfort
                                                           hinfullherein.

         36.   Thi
                 sisanact
                        iononbehalfofI.P. Hol
                                            dings, asregistrantoft
                                                                 heabove-

referencedtrademarkregi
                      strat
                          ionswi
                               ththeU.S. Pat
                                           entandTrademarkOffi
                                                             ce, for

trademarki
         nfringementoftheregistered, i
                                     nfringed-upon411-PAIN M arksunder

Sect
   ion32 oft
           heLanham Act, 15 U.S.C. §1114, i
                                          nconnect
                                                 ionwi
                                                     thEichholz’s

unlawfuluseoftheInfringi
                       ngDesignati
                                 onswi
                                     thi
                                       ntheInfringi
                                                  ngW ebsi
                                                         te.


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      Case 1:17-cv-04382-MHC Document 1 Filed 11/02/17 Page 14 of 26



     37.   Eichholz, wi
                      thoutI.P. Holdings’consent, is usi
                                                       ng i
                                                          n commerce a

reproduct
        ion, copy, orcol
                       orabl
                           eimitat
                                 ion oft
                                       heregi
                                            stered, i
                                                    nfringed-upon 411-

PAIN M arks i
            n connecti
                     on wit
                          hthe sal
                                 e, offering forsal
                                                  e, distributi
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advert
     isi
       ng ofi
            tslegalservicesand such usei
                                       slikely to causeconfusi
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                                                                   o

causemistake, ortodecei
                      ve.

     38.   Eichholz, wit
                       houtI.P. Hol
                                  dings’consent, isreproduci
                                                           ng, copyi
                                                                   ngor

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  orably imitati
               ng t
                  he registered 411-PAIN M arks and applying such

reproduct
        ion, copyorcol
                     orableimitat
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commerceupon ori
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                       ion wi
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                               hesale, offering forsale, distri
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       ngofl
           egalservicesandsuchuseisl
                                   ikelytocauseconfusi
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                                                           ocause

mistake, ort
           odecei
                ve.

     39.   Eichholz’si
                     nfri
                        ngi
                          ngactsinviolati
                                        onof15 U.S.C. §1114 havebeen

committed wi
           th knowledge t
                        hatsuch imitat
                                     ion i
                                         sintended t
                                                   o be used t
                                                             o cause

confusion, ortocausemistake, ort
                               odecei
                                    ve.

     40.   As a resul
                    t of Eichholz’s misconduct, I.P. Holdings has been

damaged.

                                CO UNT II
                       Fal se De signati
                                       onofO ri
                                              gin
                (15 U.S.C. §1125(a);Lanham Act§43(a))

     41.   Plai
              ntiffsreal
                       legeparagraphs1-40 ast
                                            houghsetfort
                                                       hinfullherein.




                                    14
      Case 1:17-cv-04382-MHC Document 1 Filed 11/02/17 Page 15 of 26



     42.   Thi
             sisan acti
                      on broughtby allPlainti
                                            ffsforfalse designat
                                                               ion of

ori
  gin underSecti
               on 43 oftheLanham Act, 15 U.S.C. § 1125(a), i
                                                           n connect
                                                                   ion

wit
  h Eichholz’s unlawfuluse oft
                             he Infringi
                                       ng Desi
                                             gnat
                                                ionson t
                                                       he Infringing

W ebsi
     te.

     43.   Eichholz, on orin connect
                                   ion wit
                                         hit
                                           sservi
                                                ces, usesi
                                                         n commercea

word, term, name, orsymbol, oracombinat
                                      iont
                                         hereof, orafalsedesi
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                                                               ionof

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  gin, specificallytheInfringi
                             ngDesignat
                                      ionsontheInfri
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                                                     ngW ebsi
                                                            te, whichis

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 kelytocauseconfusi
                  on, ort
                        ocausemistake, ort
                                         odeceiveast
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                                                          liat
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      ion, orassoci
                  ati
                    onofEichhol
                              zwit
                                 hK& P, aslicenseeoftheinfri
                                                           nged-upon

411-PAIN M arks, orast
                     o theori
                            gin, sponsorship, orapprovalofEichholzwi
                                                                   th

I.P. Holdi
         ngsand/orRearden. Theuseviolat
                                      es15 U.S.C. §1114.

     44.   Asaresul
                  tofEichhol
                           z’smisconduct,Plai
                                            ntiffshavebeendamaged.

                              CO UNT III
                            Fe d e ralDil
                                        uti
                                          on
                (15 U.S.C. §1125(c);Lanham Act§43(c))

     45.   Plai
              ntiffsreal
                       legeparagraphs1-44 ast
                                            houghsetfort
                                                       hinfullherein.

     46.   Thi
             sisanacti
                     onbyI.P. Holdingsforfederaldil
                                                  uti
                                                    onoft
                                                        he411-PAIN

M arksunderSect
              ion43 oft
                      heLanham Act, 15 U.S.C. §1125(c), inconnect
                                                                ion

wit
  h Ei
     chholz’s unl
                awfuluse ofthe Infri
                                   nging Designati
                                                 ons in t
                                                        he Infri
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W ebsi
     te.




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       Case 1:17-cv-04382-MHC Document 1 Filed 11/02/17 Page 16 of 26



      47.   The 411-PAIN M arks are famous and di
                                                sti
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                                                         nherent
                                                               ly and

throughacqui
           reddist
                 inct
                    ion. See, e.g., OrderofPrel
                                              iminaryInj
                                                       uncti
                                                           oni
                                                             nRobert

Lewi
   netal. v. Raf
               aelFossetal., CaseNo. 09-82448-CIV-RYSKAM P/VITUNAC

(S.D. Fla. M arch23, 2010).

      48.   At a time after t
                            he 411-PAIN M arks had become famous, as

previ
    ouslyestabli
               shedbyCourtOrder, Eichholzcommenceduseofamarkortrade

name in commerce thati
                     sli
                       kely to cause dil
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                                         on by blurri
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tarni
    shmentof411-PAIN’sM arksi
                            nvi
                              olati
                                  onof15 U.S.C. §1125(c).

      49.   W ith respectto t
                            he di
                                lut
                                  ion by tarni
                                             shment, Eichholz’suse of, or

imitati
      onof, t
            he411-PAIN M arkstarnishesthereput
                                             ationoft
                                                    hosemarksbecause,

amongot
      herthi
           ngs, Eichholz’sformermanagi
                                     ngpart
                                          ner, Benj
                                                  aminEichholz, was

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 sbarredaft
          erpleadi
                 ngguil
                      tytoobstruct
                                 ionofj
                                      usti
                                         cei
                                           nfederalcourtaft
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countindictmentcharged him with embezzl
                                      ing more than $950,000 from two

employeepensi
            onandret
                   irementaccounts, moneylaunderi
                                                ng, andrelatedcharges.

For t
    hese highly-publ
                   icized crimes, Benj
                                     amin Eichholz was sentenced t
                                                                 o 21-

monthsin pri
           son. In and around Georgi
                                   a, Benj
                                         amin Eichhol
                                                    z, the face oft
                                                                  he

Eichholzfirm, becamesynonymouswit
                                hthesecrimes. Forexample, thefoll
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                                                                  ng

are li
     nks t
         o art
             icles regardi
                         ng Benj
                               amin Ei
                                     chholz, hi
                                              s firm, and his criminal

prosecuti
        onandconvict
                   ion:




                                     16
      Case 1:17-cv-04382-MHC Document 1 Filed 11/02/17 Page 17 of 26



     i)    www.savannahnow.com/latest-news/2010-05-12/convicted-savannah-

lawyer-benj
          amin-ei
                chholz-begi
                          ns-prison-sent
                                       ence;

     ii)   www.savannahnow.com/news-crime-court
                                              s/2010-03-30/eichhol
                                                                 z-

sentenced-21-month-pri
                     son-term-fined;and

     ii
      i)   www.bravot
                    v.com/the-daily-di
                                     sh/dani
                                           el-ei
                                               chholz-fat
                                                        her-benj
                                                               amin-

eichholz-pri
           son-video.

Thet
   hreeart
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           esareatt
                  achedasComposi
                               teExhibi
                                      tG.

     50.   W ith respect t
                         o the dil
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                                          urring, Eichholz’s Infringi
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Desi
   gnat
      ionsandInfringi
                    ngW ebsi
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                                 eanassociati
                                            onwit
                                                hthei
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411-PAIN M arks and I.P. Holdi
                             ngs arising from the similarity between t
                                                                     he

Infringing Desi
              gnat
                 ions and Infri
                              ngi
                                ng W ebsi
                                        te and I.P. Hol
                                                      dings’s famous

trademarkst
          hatimpai
                 rst
                   hedi
                      sti
                        nct
                          ivenessoft
                                   hefamousmark.

     51.   As a resul
                    t of Eichholz’s misconduct, I.P. Holdings has been

damaged.

                                  CO UNT IV
                  Trad e Name Infringe me ntand Violati   on
                  ofGe orgi a De ce pti
                                      ve Trad e Practice sAct
                        (O .C.G.A. §10-1-370 et seq.)

     52.   Plai
              ntiffsreal
                       legeparagraphs1-51 ast
                                            houghsetfort
                                                       hinfullherein.

     53.   Thi
             sclaim isbroughtonbehalfPlaint
                                          iffs.

     54.   The Georgi
                    a Uni
                        form Decepti
                                   ve Trade Pract
                                                ices Act(“UDTPA”),

O.C.G.A. §§10-1-370 etseq. rendersunl
                                    awfuldecepti
                                               vet
                                                 radepracti
                                                          ceswhen a
                                      17
       Case 1:17-cv-04382-MHC Document 1 Filed 11/02/17 Page 18 of 26



personorenti
           tycausesconfusionormisunderstandi
                                           ngast
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                                                     ginoraffi
                                                             liat
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ofservices, i
            ncludi
                 nglegalservices.

      55.   Eichholz wil
                       lful
                          ly engaged i
                                     n decept
                                            ive trade pract
                                                          ices and unfai
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advert
     isi
       ng byadopt
                ing Infringing Desi
                                  gnati
                                      onson it
                                             sInfri
                                                  ngi
                                                    ng W ebsi
                                                            tewhich

was, and i
         s, l
            ikelyto confuse, mislead and i
                                         njureconsumersast
                                                         othesourceof

sponsorship, approval, cert
                          ificati
                                on, affi
                                       liati
                                           on, connect
                                                     ion, orassociat
                                                                   ionofl
                                                                        egal

services.

      56.   As a direct and proximate resul
                                          t of Eichholz’s decept
                                                               ive trade

practi
     cesand unfairadverti
                        sing, consumershave suffered and wi
                                                          llconti
                                                                nue t
                                                                    o

sufferani
        njuryordet
                 riment.

      57.   Eichholzhaswi
                        llfull
                             yengagedi
                                     nthetradepract
                                                  iceknowi
                                                         ngi
                                                           ttobe

decepti
      ve.

      58.   Asadirectand proximateresultofEichholz’sdecept
                                                         iveand unfair

advert
     isi
       ng, Pl
            aint
               iffshavesufferedandwillcont
                                         inuet
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damages, asmorespecificallydescri
                                bedbelow i
                                         ntheprayerforrel
                                                        ief.

                                CO UNT V
                 Violati
                       onofGe orgia False Ad ve rti
                                                  singLaw
                          (O .C.G.A. §10-1-421)

      59.   Plai
               ntiffsreal
                        legeparagraphs1-58ast
                                            houghsetfort
                                                       hinfullherein.

      60.   Thi
              sclaim isbroughtonbehalfPlaint
                                           iffs.




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         Case 1:17-cv-04382-MHC Document 1 Filed 11/02/17 Page 19 of 26



     61.     The Georgi
                      a Uni
                          form Decepti
                                     ve Trade Pract
                                                  ices Act(“UDTPA”),

O.C.G.A. §§10-1-421 etseq., rendersunlawfulfalseorfraudulentstat
                                                               ementsi
                                                                     n

advert
     isi
       ng.

     62.     Eichholzengagedi
                            nFal
                               seorFraudulentStat
                                                ementsi
                                                      nAdvert
                                                            isingas

defined by O.C.G.A. §§10-421. Specifically, Eichholz publi
                                                         shed it
                                                               sInfri
                                                                    ngi
                                                                      ng

W ebsi
     te that made i
                  t appear as t
                              hough t
                                    he consumer was contact
                                                          ing an

independentt
           hird party foracaseevaluati
                                     on associated wi
                                                    th Plai
                                                          ntiffswhen, in

fact, t
      heconsumerwascontact
                         ing Eichholz. Indeed, t
                                               hewebsi
                                                     test
                                                        ates:“W e’ll

connectyouwi
           thaqual
                 ifiedpersonali
                              njuryattorneyt
                                           oday. Callust
                                                       oGe tthe 411

onyourPain orInj
               urylawyer.”(seeEx. F (emphasissuppl
                                                 ied)). Thatstatement

suggest
      sthepotent
               ialcl
                   ienti
                       scal
                          lingani
                                ndependentreferralservice, notanactual

att
  orney thatworksi
                 nthefield ofpersonali
                                     njury law. M eanwhi
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knownt
     hatthe411-PAIN M arksareassociat
                                    edwi
                                       thlegalreferralservi
                                                          ces, among

ot
 hers.

     63.     Eichholz wil
                        lful
                           ly made and publ
                                          icly disseminated advert
                                                                 isements,

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  h thei
       ntentt
            oinducet
                   hepubl
                        ict
                          o enteri
                                 nto an agreementwi
                                                  th Eichholzto

perform legalservi
                 ces.

     64.     Eichholz di
                       sseminated, or caused t
                                             o be di
                                                   sseminated, sai
                                                                 d

advert
     isementsusi
               ngit
                  sInfri
                       ngi
                         ngW ebsi
                                tetothepubl
                                          ic.




                                       19
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         65.   Sai
                 dadverti
                        sementscontai
                                    nedstatementsoffactrelati
                                                            ngtoproposed

performanceofservi
                 ceswhichwereuntrueand/orfraudulent.

         66.   Eichholz’s adverti
                                sements were misrepresentat
                                                          ions ofmaterialfact

thatEichholz knew, ori
                     nthe exerci
                               seofreasonable care, should haveknown,

wouldmisl
        eadt
           hepubl
                icint
                    obel
                       ievi
                          ngt
                            heywerecontacti
                                          ngI.P. Hol
                                                   dingsand/or

it
 slicensee(s).

         67.   Asadirectandproxi
                               materesultofEi
                                            chholz’svi
                                                     olat
                                                        ionsofGeorgi
                                                                   a’s

Fal
  se Advert
          isi
            ng Law, Plai
                       ntiffs have suffered, and wil
                                                   lconti
                                                        nue t
                                                            o suffer,

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 gnificantactualdamages, asmorespeci
                                   ficallydescri
                                               bedbel
                                                    ow intheprayerfor

rel
  ief.

                                  CO UNT VI
                     Pre liminaryand Pe rmane ntInjuncti
                                                       on

         68.   Plai
                  ntiffsreal
                           legeparagraphs1-58ast
                                               houghsetfort
                                                          hinfullherein.

         69.   Plai
                  ntiffs are ent
                               itled t
                                     o an order of prel
                                                      iminary and permanent

inj
  unct
     ive reli
            ef against Defendant, prevent
                                        ing Defendant from using any

confusinglysimilarvariati
                        onof“411”wit
                                   h“PAIN,”aloneori
                                                  ncombinat
                                                          ionwit
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any ot
     herlett
           ers, words, letterstrings, phrases, ordesi
                                                    gnsin commerce orin

connect
      ionwit
           hanybusinessrelat
                           edt
                             oit
                               slegalpract
                                         iceorforanyot
                                                     herpurpose

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                                      ndomainnames) andDefendant's

furtherviolati
             onsofl
                  aw assetfort
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                                hisComplai
                                         nt.


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      Case 1:17-cv-04382-MHC Document 1 Filed 11/02/17 Page 21 of 26



     70.   Plai
              ntiffs have suffered and wi
                                        llsuffer imminentand irreparabl
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                      IV.   PR AYER FO R R ELIEF

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      Case 1:17-cv-04382-MHC Document 1 Filed 11/02/17 Page 22 of 26



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      Case 1:17-cv-04382-MHC Document 1 Filed 11/02/17 Page 24 of 26



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     Case 1:17-cv-04382-MHC Document 1 Filed 11/02/17 Page 25 of 26



Thi
  s2nddayofNovember, 2017.

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                                 GUNN & DIAL, LLC


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      Case 1:17-cv-04382-MHC Document 1 Filed 11/02/17 Page 26 of 26



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                                         /s/P. ShaneO’Neill
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